      Case 2:10-cr-00026-JMS-CMM                           Document 973               Filed 09/01/15         Page 1 of 2 PageID #:
                                                                 3972
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                       Jose Vasquez-Silva                                  )
                                                                           )    Case No: 2:10CR00026-001
                                                                           )    USM No: 62701-208
Date of Original Judgment:                            04/23/2012           )
Date of Previous Amended Judgment:                                         )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    Due to the amount of drugs involved in the offense, Mr. Vasquez-Silva's guideline range was not lowered by the
    two-level reduction to the base offense level of drug offenses. In addition, his original sentence was a downward
    variance imposed pursuant to a binding Plea Agreement.




Except as otherwise provided, all provisions of the judgment dated                                            shall remain in effect.
IT IS SO ORDERED.

Order Date:              9/1/2015

                                                                                    ________________________________
Effective Date:                                                                     LARRY J. McKINNEY, JUDGE
                     (if different from order date)                                 United States District Court
                                                                                    Southern District of Indiana
Case 2:10-cr-00026-JMS-CMM    Document 973   Filed 09/01/15   Page 2 of 2 PageID #:
                                    3973



 Distribution:

 Jose Vasquez-Silva
 Reg. No. 62701-208
 U.S. Penitentiary
 P.O. Box 1000
 Leavenworth, KS 66048-1000

 Bradley A. Blackington
 UNITED STATES ATTORNEY'S OFFICE
 bradley.blackington@usdoj.gov
